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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
UNITED STATES OF AMERICA,                             :               Case No. 4:15-cr-353
                                                      :               Case No. 4:16-cv-2733
         Plaintiff,                                   :
                                                      :
vs.                                                   :               OPINION & ORDER
                                                      :               [Resolving Docs. 61-2, 65]
ANDRE ORTIZ,                                          :
                                                      :
         Defendant.                                   :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         Defendant Andre Ortiz moves for relief under 28 U.S.C. § 2255.1 Ortiz asks the Court to

modify his presentence report (“PSR”) so that Ortiz can reduce his prison sentence by

completing a drug treatment program. The Court denies Defendant’s motion.

         On April 21, 2016, this Court sentenced Ortiz to 26 months in prison for being a felon in

possession of a firearm.2 At the end of the sentencing hearing, the Court recommended sua

sponte that Ortiz should be incarcerated at the federal prison in Morgantown, West Virginia.3

The Court reasoned that the Morgantown prison was probably the closest facility with an

intensive drug treatment program.4

         Under certain circumstances, the Bureau of Prisons (“BOP”) may grant an inmate early

release if the inmate completes a prison’s Residential Drug Abuse Treatment Program (“R-




1
  Doc. 61-2. The Government opposes. Doc. 65. The Petitioner styled his petition as a § 2255 or a Fed. R. Civ. Pro
60(B)(6). The Court receives it as a § 2255.
2
  Doc. 58 at 2.
3
  Doc. 64 at 13:11-24.
4
  Id.
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DAP”).5 Ortiz says he is ineligible for early release because his PSR details his gun possession. 6

Therefore, he asks this Court to redact firearm possession from his PSR.7

        The Court declines for three reasons.

        First, the Defendant waived his right to collaterally attack his sentence in his plea

agreement.8 This waiver expressly includes § 2255 motions, and none of the listed exceptions

apply here.9

        Second, the Court will not hide Ortiz’s firearm possession from the BOP. BOP has

discretion over its R-DAP early release program, and the Court will not interfere with that

discretion by redacting the Defendant’s PSR.

        Finally, Ortiz’s requested relief is inappropriate for a § 2255 motion. “Under § 2255, the

sentencing court is authorized to discharge or resentence a defendant if it concludes that it ‘was

without jurisdiction to impose such sentence, or that the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral attack.’”10 Here, Ortiz’s request falls

outside these categories.

        Accordingly, this Court DENIES Defendant Ortiz’s § 2255 petition.

        IT IS SO ORDERED.



Dated: April 3, 2017                                            s/        James S. Gwin
                                                                JAMES S. GWIN
                                                                UNITED STATES DISTRICT JUDGE




5
  Doc 65 at 4.
6
  Doc. 61-2 at 1.
7
  Id.
8
  Doc. 46 at 5-6.
9
  Id. at 6.
10
   U.S. v. Addonizio, 422 U.S. 178, 185 (1979) (quoting United States v. Hayman, 342 U.S. 205, 207 n.1 (1952)).
                                                       -2-
